CaSe:lS-lZQZQ-.]GR DOC#ZZ- Filed:O4/ll/18 Entered:O4/12/1809248225 Pagel Of42

- Fiil in this information to identify your case: H{:_-f‘§j,i.’ _ :"'r - 1 .f

United Staies Bankrupicy Couri for ihe:

 
 

 

 

 

DlSTRiCT OF COLORADO
Case number omni Chapier you are filing under:
- Chapter 7
M 5a § §§ l:l Chapier 11
e§ _ §§ §§ §§ if “s§‘ mg §\:;§ EI Chapier12
§ §§ 5 %M’ y ij Chapter13 l:f Cheok if this an

amended tiling

 

 

 

C)i"iiciai Form 101
Vo|untary Petition for individuals Filing for Bankruptcy ms

`i’he bankruptcy forms use you and Debtor1 to refer to a debtor filing aione. A married couple may file a bankruptcy case together-called a joint
case-and in joint cases, these forms use you to ask for information from both debtors. For exampie, if a form asks, "Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separateiy, the form uses Debtor 1 and Debtor 2 to distinguish
between them. in joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information. if

more space is needed, attach a separate sheet to this fonn. On the top of any additional pages, write your name and case number (if known). Answer
every question.

identify Yourseif

 

1. Yourfu|l name

 

Write the name that is on Pameia t

 

 

 

 

 

¥'QW government-issued First name Firet name

picture identification (for

examp|e, your driver’s Sue

"°e"$e °’ P"‘SSP°")- Miedle name Middle name

Bring your picture Kl .

ident|iication to our em

meeting With lhg!rustee' t.ast name and Sufiix (Sr., Jr., ii, l|l) Last name and Sutfix (Sr., Jr., ll, l|i)

 

2. All other names you have
used in the last 8 years

include your married or
maiden names.

 

3. Oniy the last4 digits of
your Sociai Sacurity
number or federal _Xx_ 440
individual Taxpayer xxx 8
identification number
(iT|N) r h

'/§:1>;/"

 

Ofticiai Form 101 Voiuntary Petition for individuals Flling for Bankruptcy page 1

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Debf0r1 Pamela Sue Ktein

4. ' Any business names and
Employer identification

Numbers (ElN) you have l l have not used any business name or E|Ns.
used in the last 8 years

Case number (¢mn)

 

 

 

include trade names and Business neme(s)
doing business as names

 

 

Ele

 

 

5. Where you live

2302 S. Oakland Circle West
A"urora, CO 80014

 

f Debtor 2 lives at a different address:

 

  

,/Number, street city, state a zlP code

Arapahoe
County

if your mailing address is different from the one
above, fill lt in here. Note that the court will send any
notices to you at this mailing addressl

Number, Street, City, State & ZlP Code

 

 

f Debtor 2'3 mailing address is different from yours, fill it
n here. Note that the court will send any notices to this

 

Number, P.O. Box, Street, Ciiy, State & ZlP Code

 

Nurnber, P.O. Box, Strset, City, State & ZlP Code

 

6. Why you are choosing Ciieck one:
this district to file for

ba"k'“Pt°y l over me last 180 days before ming this petitionr

t have lived in this district |ongerthan in any
other district

l] l have another reason.
Explain. (See 28 U.S.C. § 1408.)

El Over the last 180 days before iiing this petition. l
have lived in this district tongerthan in any other
district

|:l l have another reason.
Expiein. (See 28 U.S.C. § 1408.)

 

 

 

 

Ofticial Form 101 Voluntary Petition for lndividuals Filtng for Bankruptcy page 2

Debtor‘t

CaSe:lS-lZQZQ-JGR DOC#ZZ Filed:O4/1l/18 Entered:O4/12/18 09248225 PageS Of42

Pamela Sue Kiein

 

m Teli the Court About Your Bankruptcy Case

Case number nimmer

 

 

 

 

 

 

 

 

 

 

 

 

 

7. The chapter of the Check ona. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for individuals Fiir`ng for Bani<ruptcy
Bankruptcy Code you are (Form 2010)). Atso, go to the top of page 1 and check the appropriate box.
choosing to file under

l Chapter?

E chapter ii

t:i Chapter 12

Cl Chapter 13

i}i§f/

S. How you will pay the feeE w l will pay the entire fee when l file my petition. Piease check with the clerk’s office |n your iocal court for more details
about how you may pay. Typioa|ly, if you are paying the fee yoursett, you may pay with cash, cashier‘s ohect<, or money
order. if your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with

__ a pre-printed addressl

m t need to pay the fee in installments lf you choose this option, sign and attach the Appir`caiion for Indr'vidual's to Poy
'i'he Fr'ir'ng Fee in installments (Ofticial Form 103A).

|:[ t request that my fee be waived (You may request this option only if you are filing for Chapter 7. By iaw, a judge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty iine that
applies to your family size and you are unable to pay the tea in instat|ments). |f you choose this option, you must fill out
the Appticair`on to Havo the Chapter 7 Fiiing Feo Waivod (Oftioia| Form 1038) and tile it with your petition

9. Have you filed for . No

bankruptcy within the `
last 8 years? l:l Yes.
District When Case number
District When Case number
District When Case number
10. Are any bankruptcy l No
cases pending or being
filed by a spouse who is E Yes.
not filing this case with
you, or by a business
partner, or by an
affiliate?
Debtor Re|ationshtp to you
District When Case number, if known
Debtor Reiationsh|p to you
District When Case number, if known
11. Do you rent your - No_ Go to line 12.

residence?

ij yes_ Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?

l:| No. Go to line 12.

ij Yes. Fil| out initial StaiementAbout an Eviction JudgmentAgainsi You (Forrn 101A) and file lt with this

bankruptcy petition.

 

Ofiiclal Form 101

Votuntary Petition for individuals Filing for Bankruptcy page 3

CaSe:lS-lZQZQ-JGR DOC#ZZ Filed:O4/1l/18 Entered:O4/12/18 09248225 Page4 0142

DBbiOi"i Pame|a Sue K|ein CaSB number difrnown)

 

Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor

of any fuli- or part-time l No_ Go to Part 4.
business?

|:| Yes, Name and location of business

A sole proprietorship is a

business you operate as Name of business, if any
an individuai, and is noia

separate legal entity such

as a corporation,

partnership, or LLC.

lfyou have more than one
sole proprietorship, use a

separate sheet and attach
it to this petition. Check the appropriate box to describe your business:

 

 

Nurnber, Street, City, State & ZlP Code

 

|j Health Care Business (as defined in 11 U.S.C. § 101(27A))

l:| Single Asset Real Estate (as defined in 11 U.S.C. § 101(518))

l:| Stoci<broker (as defined in 11 U.S.C. § 101(53A))

|:| Commodity Broker (as detined in 11 U.S.C. § 101(6))

ij None of the above

13. Are you filing under if you are filing under Chapter 11, the court musiknow whether you are a small business debtorso that it can set appropriate

Chapter 11 of the deadlines if you indicate that you are a smail business debtor, you must attach your most recent balance sheet, statement of
Bankruptcy Code and are operations, cash-flow statement and federal income tax return or ifany of these documents do not exist, follow the procedure
you a small business |n 11 U.S.C. 1116(1)(8}.

debtor?

l No i am not ti|ing under Chapter 11 .
For a definition of small '
business debtor, see 11

U.S_C' § 101(510)_ |:| No_ ::a)r‘ijieti|ing under Chapter 11, but i am NOT a small business debtor according to the dennition tn the Bankruptcy
ij Yesl l am filing under Chapter 11 and t am a small business debtor according to the definition in the Bankruptcy Code.

 

m Repori: if You Ov\rn or Have Any Hazardous Property or Any Property That Needs immediate Attention

 

14. Do you own or have any - No_
property that poses or is
alleged to pose a threat Cl Yes.
of imminent and What is the hazard?

 

identifiable hazard to

public health or safety?

Or do you own any _ _ _ _
property that needs |f immediate attention is
Immed[ate aueml°n? needed, why is it needed?

 

For exampie, do you own

perishable goods, or

iivestock fhatmust be fed, Where is the property?
or a buiiding that needs

urgent repairs?

 

Number, Sl.reet, City, State & le Code

 

Otticlat Form 101 Vo[untary Petition for individuals Fillng for Bankruptcy page 4

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DSthri Pamela Sue K|ein

 

     
 
 
     

15. Teil the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a brieth about
credit counseling before
you file for bankruptcy
‘(ou must truthfully check
one of the following
choices if you cannot do
so, you are not eligible to
tile.

lfyou file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again

Explain Your Efforts to Rec_eive a Briefing About Credlt Counseling

l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completionl

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petiticn, but l do not have
a certificate of completion.

lMthin 14 days after you file this bankruptcy
petition, you MUST his a copy of the certincate and
payment plan. if any.

l certify that t asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after t made my request, and exigent
circumstances merit a 550-day temporary waiver
of the requirement

To ask for a 150-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case,

¥our case may be dismissed if the counts
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

litho court is satished with your reasons, you must
still receive a briefing within 30 days after you iiie.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. lfyou do not do sol your case
may be dismissed.

Any extension of the 150-day deadline is granted
only for cause and is limited to a maximum of 15
days.

l am not required to receive a briefing about
credit counseling because of:

[i lncapacity.
i have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances

ij Dlsabillty.
My physical disability causes me to be
unable to participate in a briefing in personl
by phone, or through the intemet, even attert
reasonably tried to do so,

ij Active duty.
t am currently on active military duty in a
military combat zone.

if you believe you are not required to receive a
briefing about credit oounseling, you must file a
motion for waiver credit counseling with the court.

 

 

 

 

Case number prompt

 

 

us .
i received a briefing from an approved credit
connecting agency within the 180 days before l filed
this bankruptcy petition, and | received a certificate of
completion

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

l received a briefing from an approved credit
counseling agency within the 180 days before t filed
this bankruptcy petition, but tdc net have a certificate
of completion

Within 14 days after you ute this bankruptcy petition, you
MUST file a copy ot the certificate and payment plan, if
any.

l certify that l asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after l made my
request, and exigent circumstances merits 30-day
temporary waiver of the requirement.

To ask for a 130-clay temporary waiver of the requirement
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case,

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
uled for bankruptcy

if the court is satisfied with your reasons, you must still
receive a brienng within 30 days after you tile. You must
ute a certificate from the approved agency. along with a
copy of the payment plan you developed, ifany. if you do
notdo so, your case may be dismissed

Any extension of the 30day deadline is granted only for
cause and is limited to a maximum of 15 days.

lam not required to receive a briefing about credit
counseling because of:

ij lncapacity.
l have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances

Cl Dlsabtllty.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after l reasonably tried to
do so.

i:| Active duty.
t am currently on active military duty in a military
combat zone.

lfyou believe you are not required to receive a briean
about credit counselingl you must file a motion for waiver
of credit counseling with the court.

 

Oflicial Form 101

Votuntary Petition for individuals Fiilng for Bankruptcy page 5

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Debtor 1 Pame[a Sue K|ein Case number (rrxnorm)

 

Answer These Questions for Reporting Purposes

 

16. What kind of debts do 16a. Are your debts primarily consumer debts? Corlsumer debts are defined in 11 U.S.C. § 101(8) as 'incurred by an
you have? individual primarily for a persona|, fami|y, or household purpose.'

Ei No. Go to line 16b.

- Yes. Go to line 17.

16b. Are your debts primarily business debts? Busl'riess debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

l:l No. Go to line 169.
l:l Yes. Go to line 17.

 

 

16c. Slate the type oldeth you owe that are not consumer debts or business debts
17'. Are you filing under |:l No_ l am not filing under Chapter 'r’. Go ic line 18.
Chapter 7?
Do you estimate that ' Yes' i am hling under Chapter 7. Do you estimate that alter any exempt property is excluded and administrative expenses

after any exempt
property is excluded and

are paid that funds will be available to distribute to unsecured creditors?

 

 

administrative expenses . No
are paid that funds will
be available for l:l Yes
distribution to unsecured
creditors?
18. How many Creditors do - 1_49 l:l 1,000-5,000 l:l 25.001-50,000
§11;;8““13*°*““¥°“ g 50_99 Cl 5001-10,000 lZl so,ooi-roo,ooo
g 109_199 El 10,001-25,000 l:i More than100,000
l:l 200-999
te. now much do you El so - $50.000 lIi sr ,ooo,ool - sic million E| ssoo,ooo,oot - s1 billion

estimate your assets to
be worth?

ij sso,ool - sloo,ooo
l sloo,ool - ssoo,ooo
ij ssoo,oot - $1 million

ill sro.ooo,om - soo million
lIl sso,ooo,ool - stop million
ill sloo,ooo_,ool - ssoo million

E $1,090,000,001 - $‘iO billion
l:l $10,000,000,001 - $50 billion
El More than 850 billion

 

20. How much do you
estimate your liabilities
to be?

Cl $o - sso,ooo

L'_l sso,ool - sioo,ooo
iii s1 oo,ool - ssoo,ooo
l ssoo,ool - st million

l:l $1,000,001 - $10 million

iii sio,ooo,o`ol - 550 million
L'.l $50,000,001 - sioo mlllion
lIl sioo,ooo,ool - ssoo million

ill ssoo,ooo,ool - s1 billion

El sl,ooo,ooo,ool - sic billion
El slo,ooo,ooo,ool - 550 billion
i:l More than $50 billion

 

sign eelow

For you l have examined this pelition, and l declare under penalty of perjury that the information provided is true and correct

if t have chosen to tile under Chapier 7, l arn aware that l may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
United States Code. l understand the relief available under each chapter. and l choose to proceed under Chapter 7.

if no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me till outthis
document, i have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specified in this petition

making a false statemeni, concealing property, or obtaining money or property by fraud' ln connection with a

  

'Pamela Sue Klein

Signature of Debtor 1

Executedon z%//y //

MN'F l UDJYYYY

W

Signature of Debtor 2

'/’67`/ Executed on

ruptcyd /}:):>;;? resuit' ln fines up o $250, 0 0 or imprisonment for up to 20 years, or both. 18 U. S. C. §§ 152,1341,1519,

 

MMIDD!YYYY

 

Official Form 101

Voluntary Petitlon for individuals F|ling for Bankruptcy

page 6

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Deb10r1 Pamela Sue Klein

Case number nrrmsm

 

 

For your attomey. if you are
represented by one

lf you are not represented by
an attorney, you do not need
to file this page.

l, the attorney for the debtor(e) named in this petition, dectare that l have informed the debtor(s) about eligibility to proceed
under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
for which the person is eligible t also certify that l have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
and, in a case in which § 707(b)(4)(D) applies, certify that t have no knowledge after an inquiry that the lnformation in the
schedules filed with the petition is incorrect

 

 

 

 

 

Dat&
Signature of Attorney for Debtor MM l DD IYYYY
Pr‘nted name
Firm name
Number, Streel., City, Siate & 21F Code
Cenl.aet phone Email address

 

 

 

Bar number & S!ata

 

Ofticiat Form 101

Voluntary Petition for lndividuale Fi|lng for Bankruptoy page 7

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Debiori Pameia Sue Kiein

Case number minoran

 

 

For you if you are filing this
bankruptcy without an
attorney

lf you are represented by an

attorney, you do not need to
file this page.

t__i_v‘”

 

The law allows you, as an individuai, to represent yourself |n bankruptcy court, but you should understand that many
people find it extremely difficult to represent themselves successfuiiy. Because bankruptcy has long-term
financial and legal consequences, you are strongly urged to hire a qualified attorney.

To be successfull you must correctly tile and handle your bankruptcy case. The rules are very iechnica|, and a mistake or
inaction may affect your rights. For exampie, your case may be dismissed because you did not file a required document
pay a fee on time, attend a meeting or hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy
administrator, or audit nrm if your case is selected for audit. if that happens, you could lose your right to file another case,
or you may lose protections, including the beneiit of the automatic siay.

You must list all your property and debts in the schedules that you are required to tile with the court. Even if you plan to pay
a particular debt outside of your bankruptcy, you must list that debt in your schedules. if you do not list a debt, the debt may
not be dischargedl if you do not list property or properly claim it as exempt you may not be able to keep the properiy. The
judge can also deny you a discharge of all your debts if you do something dishonest in your bankruptcy case, such as
destroying or hiding property, falsifying records, or lying individual bankruptcy cases are randomiy audited to determine if
debtors have been accurate truthful and complete Bankruptoy fraud is a serious crime; you could be fined and
lmprlsoneci.

lfyou decide to file without an attorney, the court expects you to follow the rules as ifyou had hired an attorney. The court
witt not treat you differently because you are filing for yourseif. To be successful, you must be familiar with the United
States Bankruptoy Ccde, the Federai Ruies of Bankruptcy Procedure. and the local rules of the court in which your case is
filed. You must also be familiar with any state exemption laws that apply.

Are you aware that hling for bankruptcy is a serious action with long-term financial and legal consequences?
l:i No

l Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are inaccurate or incomplete, you
could be hired crimprisoned?

i:i No
l Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
Ei No
l Yes Neme of Person Brennah ililares
Attach Bankruptoy Pelitr'on Preparer’s Notr'oe, Deciaraiion, and Signature (thciai Form 1 19).

 

Ehr'{i`g/mna ere l acknowledge thati understand the risks involved in filing without an attorney. l have read and understood
oti d l am are that iiiin a bankruptcy se without an attorney may cause me to lose my rights or property ifi do
andle `“

  

   
 
  
 
 
 
  
  

   

tito/sro

amela Sue Klern

 
 

    

 

Signature of Debior 2

Signature ofD btor1 '
i\:f Date //p// J/ Date

 

 

 

 

 

 

MM)'DD!¥YYY' MMi'DD/YY¥\’
Contact phone 7204278266 Contact phone
Cell phone Cell phone
Email address Emaii address

 

 

 

Ol'iicial Form 101

Vo[untary Petitiori for lndividuais Fiilng for Bankruptoy page 8

 

 

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Certiticate Nurnber: l§'?ZS-CO-CC-030857231

030857231

lS'i`ZS~CO~CC-

CERTIFICATE OF CoUNSELING

I CERTIFY that on April 10, 2018, at 3:39 o‘ciock PM EDT, Pamela Klein
received from 001 Debiorcc Inc., an agency approved pursuant to 11 U.S.C. §
111 to provide credit counseling in the District of Colorado, an individual [or

 

group] briefing that complied with the provisions of ll U.S.C. §§ 109(h) and lll.

A debt repayment plan Was not prepared If a debt repayment plan Was prepared, a
copy of the debt repayment plan is attached to this certificate

This counseling session was conducted by internet.

 

Eej §4"‘”;`

br

Date: Apn`l 10, 2018 By: /s/Maria Avcciilas

 

Name: Maria Avecillas

Titlc: Counselor

* Individuals who wish to file a bankruptcy case under title il of the United States Bankruptcy
Code are required to tile With the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See ll U.S.C. §§ 109(h) and 521(b).

 

 

 

 

 

 

 

 

 

 

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Fill in this information to identify your case:

Debf0f1 Pamela Sue K|ein
First blame filiddie blame Last Neme

Debior 2
(Spouse it, itting) Fir'st flame Middie Nafne Last blame

 

United States Bankruptoy Court for the: DlSTRiC`i' OF COLORADO

 

Case number
iii kw-n) ij Check if this is an
amended filing

 

 

 

Otficiai Form 107
Statement of Financiai Affairs for individuals Filing for Bankruptoy 4an

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number {lf known). Answer every question.

 

Give Detalls About ‘r'our Marltal Status and Where You Lived Before
1. What is your current marital status?

|Ii Married
- Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

l No
|:i Yes. List all of the places you iived in the last 3 years. Do not include where you live now.

 

 

 

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Communr'ty property
states and territories include Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerio Rico, Texas, Washington and Wisconsin.)

- No
ij Yes. Maire sure you till out Scheduie H: your Codebiors (Otficiai Form 106H).

Expiairi the Sources of Your income

 

4. Did you have any income from employment or from operating a business during this year ortho two previous calendar years?
Fili in the totai amount of income you received from all jobs and ali businesses, including part-time activities
if you are ming a joint case and you have income that you receive together, list it only once under Debior t.
El No
l Yes. Fiii in ute details

  

 

 

   

 

`-.,

 

From January 1 of current year until l Wages’ commissions, $12,000.00 El Wages, commissions
the date you filed for bankruptcy: bonuses tips bonuses, tips
Ci Operating a business m OPeraiing a business
Officiai Form 107 Statement of Financiai Affairs for individuals Fiilng for Bankruptoy page 1

Soltware Copyright (c) 1996-2017 best Case, t_LC -www_bestcase.oom BestCsse Bankruptoy

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Debtori Pameia Sue K|ein Case number ramey

 

 

 

 

For last calendar year: - Wa es commissions $50,000.00 l:| Wages, commissions
{January 1 to December 31, 2017} bonuses l’ips ' bonuses, tips

n Operating a business |:i Operating a business
For the calendar year before that: - Wa es commissions $68,948.00 ij Wages, commissions,
{January 1 to December 31. 2016 l hawaii t'ips ' ' bonuses, tips

i:l Operatlng a business g Ope"ating a business

 

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable Examples of other income are allmony; child support; Socia| Security, unemployment
and other public benefit payments; pensions; rental income; interesl; dividends; money coliected from lawsuits; royalties; and gambling and lottery
winnings lfyou are lillng ajoint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately Do not include income that you listed in ilne 4.

l No
ij Yes. Fill in the details.

 

 

List Certain Payments You Made Before ¥ou Filed for Bankruptoy

6. Are either Debtor1's or Debior 2‘s debts primarily consumer debts?
E| No. Nelther Debtor1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as 'incurred by an
individual primarily for a personal, family, cr household purpose.'

During the 90 days before you died for bankruptcyl did you pay any creditor a total of $6,425* or mcre?
g No. Gc to line 7.

g Yes Llst below each creditorto whom you paid a total of $6,425* or more in one cr more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony Aiso, do
not include payments to an attorney for this bankruptcy case,

* Subject to adjustment on 4101!19 and every 3 years after that for cases filed on or alter the date of adjustment

' Yes. Debtor'l or Debtor 2 or both have primarily consumer debts.
During the 90 days before you liled for bankruptcy did you pay any creditor a total of $600 or more?

l No. ootolina 7.

n Yes List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations such as child support and alimony. Also, do not include payments to an
attorney for this bankruptcy case,

 

0iflclaiF0rm1D'r' Statement of Financiai Atfalrs for individuals Fiilng for Bankruptoy page 2
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Debt0r1 Pame|a Sue K|ein Case number ramm)

 

Wlthln 1 year before you filed for bankruptcy, dld you make a payment on a debt you owed anyone who was an insider?

insiders include your reialives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
ofwhlch you are an oifioer, director, person in ccntrol, or owner of 20% or more ofthelrvct|ng securities; and any managing agent, including one for
a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations, such as child support and
alimony.

.No

i`_'i Yes. l_ist ali payments to an insider.

 

     
 

Vlnthin ‘l year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider‘?

include payments on debts guaranteed or cosigned by an insider.

‘ lie

i:i Yes. l_ist all payments to an insider

      

m identify Lega| Actions, Repossessions, and Foreciosures

9.

10.

11.

12.

vlnthin 't year before you filed for bankruptcy, were you a party in any lawsuit. court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suils, paternity actions, support cr custody
modifications and contract disputes

l No
i:l Yes.Fil|inthedetalis.

     
 

Wlthln 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished. attached, seized, or levied?
Check all that apply and hit in the details beiow.

l No. Go to line 11.

El Yes. Fill in the information below.
§

      

Wlthln 90 days before you filed for bankruptcy, did any creditor. including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

- No
|Ii Yes. Fiii in the details

 

 

 

italian

Wlthln 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditorsl a
court-appointed receiver, a custodian, or another officlai?

- No
l:i Yes

m usi certain sine and contributions

13.

Wlthln 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $Stltl per person?
l No
ij ¥es. Fill in the details for each gift.

 

 

Ol"licial Form 107 Statement of Financiai Affairs for individuals Fiilng for Bankruptoy page 3

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Debior1 Pameia Sue K|ein Case number (iri¢mwn)

 

 

14. lMthin 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
l No
l:} Yes. Fiii in the details for each gift or contribution

¢- t

 

   
 

 

i_ist Certain Losses

15. Within 'i year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, lire, other disaster,
or gambling?

l No
Ei ¥es. Fiii in the detaiis.

 

   
 

 

 

 

 

 

 

 

Llst Certain Payments or Transfers

16. Within 'i year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attorneysl bankmptcy petition preparers, or credit counseiing agencies for services required in your bankruptcy

- No
i:i Yes. Fill in the detaiis.

       

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

 

 

18. Wlthln 2 years before you filed for bankruptcy, did you seii, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Iriciude both outrighttransfers and transfers made as security {such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement

l No
i:l ‘i'es. Fiii in the detai|s.

    

l'§iQ,l'l,§:!'§,§,` 911 ,, ,P. ,:Y_ _

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (l'hese are often called asset-protection devices.)

- No
l:] Yes. Fill in the details.

  
   
 

Officiai Form 107 Statement of Financiai Affairs for individuals Fiilng for Bankruptoy page 4
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Debtor1 Pame|a Sue K|ein Case number prmmi

 

 

List of Certain Financiai Accounts, instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before your filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, ciosed,
soid, moved, or transferred?
include checking, savings, money market or other financial accounts; certificates of deposlt; shares in banks, credit unions, brokerage
houses, pension funds, cooperativesl associations, and other financial institutions.

- No
Ei Yes.Fiiiinthedetaiis.

 

21. Do you now have, or did you have within 'l year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

- No
El Yes. Fill in the detaiis.

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

- No
ij Yes.Fiilinthedetaiis.

 

 

 

 

m identify Property You Hoid or Controi for Someone Eise

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for, or hold in trust
for someone.

- No
ij Yes. Fi||inthedetails.

 

Part10: Give Detalls About Envlronmental information

For the purpose of Part10, the following definitions appiy:

l Envi'ronmenfai law means any federal, state, or local statute or regulation concerning poiiution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, iand, soii, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material.

Sife means any iocation, facility, or property as defined under any environmental iaw, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous materiall pollutant, contaminant, or similar term.

Report all notices, reieases, and proceedings that you know about, regardless of when they occurred.

24. Has any govemmentai unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

l No
Ei ves. Fill inure details

      

, unequal

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Debiorl Pame|a Sue K|ein Case number (iftnown)

 

 

25. Have you notified any governmental unit of any release of hazardous material?

l No
n Yes.Fiiiinthedetaiis.

    

 

 

26. i-iave you been a party in any judicial or administrative proceeding under any environmental law? include settlements and orders.

- No
I:I Yes. Fill in the details.

    

 

Give Detalls About Your Business or Connections to Any Business
27. Wlthln 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
l:l A sole proprietor or self-employed in a trade, profession, or other activityl either full-time or part-time
i:l A member of a limited liability company (LLC) or limited liability partnership (Li_P}
i'_'l A partner in a partnership
l:l An officer, director, or managing executive of a corporation
Ei An owner of at least 5% of the voting or equity securities of a corporation
l No. None ofthe above applies co to Part12.

El Yes. Check all that apply above and fill in the details below for each business.

       

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include ali financial
institutions, creditors, or other parties.

- No
Ei Yes. Flil in the details bolow.

 

   
 

 

me Bei°w

l have read the answers on this Statement ofFinanciai Affairs and any attachments and l declare under penalty of perjury that the answers
are true and correct. l understand that making a false statement, concealing propertyl or obtaining money or property by fraud in connection
with n uptcy case can result in fines up to 250,000, or imprisonment for up to 20 years, or both.

18 S.C. 152, 41, 1619, and 35?1

[§/}/M// g &Z/c*»-//- M/
rPamela Sue K|ein ’“ Signature of Debtor 2
Signature of D btor 1 -
bare L!///] " / bare
f .

Did you attach additional pages to Your Statement of Financiai Affairs for individuals Fiilng far Bankruptoy (Official Form 107)?
- No

 
   

  

 

l:i Yes

Did you pay or agree to pay someone who is not an attomay to help you fill out bankruptcy forms?

|:l No

- Yes. Name of Person Brennah Mares .Attach the Bankruptoy Peir'iion Preparer's Notice, Daciaraiion, and Signature (thciai.Form 119).
Oliiciai Form 107 Statement of Financiai Affalrs for individuals Fiilng for Bankruptoy page 6

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Debtori Pame|a Sue K[ein Case number (irkno'.m)

 

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Fill in this information to identify your case:

Debior 1 Pameia Sue K|ein
Frrst Name l.iiddle flame i_est Name

 

Debior 2
(Spouso if, tilirvg) First Name Midciie Name l_ast Name

 

United States Bankruptoy Court for the: DlSTRiCT OF COLORADO

 

Case number
liflm¢m) ij Check if this is an
amended liling

 

 

 

Oiiicia| Form 106Sum

Summary of Your Assets and Liabi|ities and Certain Statistica| information 12115

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. if you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

 

1. Scheduie AiB: Property (Ofuciai Form 106NB}
ia. Copy line 55, Tota| real estate, from Schedule NB 5 3551000'00

 

1b. Copy line 62, Totai personal propertyl from Scheduie NB

$ 1,330.00

ic. Copy line 63, 'l'olai of all property on Schedu|e A!B ............ $

M

 

msummarize ‘(our Liabi|ities

 

2. Scheduie D: Creditors Who Have Cieims Secured by Property (Ofiicial Form 1060)

 

2a. Copy the total you listed in Co|umn A, Amount of ciaim, at the bottom of the last page of Part 1 of Scheciuie D... 5 26.2»093-59
3. Scheduie E/F: Crediiors Who Have Unsecured Ciaims (Oiticiai Form 106EiF)
Sa. Copy the total claims from Parti (prioriiy unsecured ciaims) from line 6a of Scheduie E/F ................................. $ _ oroo.
3b. Copy the total claims from Part 2 (nonpriority unsecured ciaims} from line 6i of Scheduie E/F 3 255,684.00
Your total liabilities $ 517,7`17.59

 

 

 

mmmarize ¥our income and Expenses

4. Scheduie i: your income (Ollicia| Form 1061)

 

 

Copy your combined monthly income from line 12 of Scheduie i............ ...... 3 3»700-0°
5. Scheduie J: Your Expenses (Olilcial Form 106.1)
Copy your monthly expenses from line 220 of Scheduie J .......... 3 4'985'00

 

 

mnswer These Ciuestions for Administrative and Statlsticaf Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
ij No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules

I Yes
?. What kind of debt do you have?

- Vour debts are primarily consumer debts. Consumer debts are those 'incurred by an individual primarily for a personai, famiiy, or
household purpose." il U.S.C. § 101(8). Fiii out lines 8-99 for statistical purposes 28 U.S.C. § 159.

l:l Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
the court with your other schedules
Oiliciai Form 1065um Summary of Your Assets and Liabi|ities and Certain Statistica| information page 1 of 2

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Debtor 1 Pame|a Sue K|ein Case number (ifknown)

 

8. From the Statement of your CurrentMonihiy income: Copy your total current monthly income from Officiai Form 0 00
122A-1 Line 11; OR, Form 1223 E_irle 11; OR, Form 1220-1 Line 14. 5 '

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Scheduie E/F:

  
 

 

. _. AH“§ii';aiiii'*iriiiii§i*&i=;~i?rfil ""’~?fiifiealn
Qa. Domesiic support obligations (Copy line 6a.)

 

 

 

 

9b. Taxes and certain other debts you owe the government (Copy line Sb.) $ 0.00
90. Claims for death or personal injury while you were intoxicated (Copy line 60.) $ 0.00
9d. Student ioans. (Copy line 6f.) $ U.DO
9e. Obiigations arising out of a separation agreement or divorce that you did not report as
priority ciaims. (Copy line 69.) $ 0’00
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0,00
sg. 'roial. A<id lines ea through ef. $ 0.00
Ofiiciai Form 1OBSum Summary of Your Assets and Liabi|ities and Certain Statisticai information page 2 of 2

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Fill in this information to identity your case and this liling:

 

 

Debiori Pameia Sue K|ein

Frrsl Name iiiiddie Name Lasi Name
Debior 2
(Spouse. iitiltng) Firsi flame i.iiddie Name LastNeme

United States Bankruptoy Court for the: D|STRlC`i' OF COLORADO

 

Case number l'_'i Checit ifthis is an
amended filing

 

Oificia| Form lOSA/B
Schedule AIB: Property rails

in each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the category where you
think lt fits best. Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
inforrnation. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 

Descrlbe Each Resldence, Bulldlng, Land, cr Oiher Real Estate You Own or Have an interest irl

 

t. Do you own or have any legal or equitable interest in any residence, bullding, ianci, or similar property?

iIl i~lo. co to ran 2.
- Yes. Where is the property?

 

 

 

 

 

 

 

1.1 what is the property? cheek el that apply
2802 SOUti'l Oakial'ld Cil' WESf n Singie_[aml}y home
Sue°i°dd"e$s' dm"a“°' mowerme g Dupiex or mulli'unit building
g Condomlnium or cooperative
[:l Manufectured or mobile horne
Current value of the Current value of the
AUl’Oi"a CO 80014-0000 ij Land entire property? portion you own?
Cii¥ Sial€ ZlP Code Ei investment property $365,000.00 $365,000.00
m T[meshafe Descrlbe the nature of your ownership interest
E thef {such as fee simple, tenancy by the entireties, or
Who has an lnterest in the property? Checi<one a me estate)¢ if k"°"'"*'"
l Debior 1 only
Arapahoe El Debior 2 only
C°""‘V ij Debior 1 and Debior 2 only

Check |fthis is community property
ij At least one ofthe debtors and another n (see irlslruclims)

Other inion'nation you wish to add about this item, such as local
property identification number:

 

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for 36 000 00
pages you have attached for Part 1. Write that number here... ... ... ... ... ... ... .“..=> s 51 ‘

Descrlbe Your Vehicies

 

 

 

 

Do you own, iease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles you own that
someone else drives. if you lease a vehicle, also report it on Scheduie G: Executory Coniracis and Unexpi'red Leeses.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

l No
CI Yes

0fi'lciai Form 106NB Schedule A!B: Property page 1
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Debl<)i"l Pame|a Sue K[ein Case number (ifknown)

 

4. Watercratt, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Exampies.' Boats, trailers, molors, personal waiercralt, fishing vesseis, snowmobiles, motorcycle accessories

l No
l:i Yes

 

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
pages you have attached for Part 2. Write that number here .................................... .....=> $0'00

 

 

 

 

Descr|be Your Personal end Househo|d items

 

 

6. Household geo san urnls inge
Exampies: Major appliances, iurniture, iinens, china, klichenware

l:l No
- Yes. Describe .....

 

Couch, Tv, 2 Chairs,Coffee Tabie, 2 end tables, Dining Tabiel 6

Chairs. 2 Beds , 2 Dressers , lilliasherl Dryer, Stove. Fridge, Desk,
Chair $700.00

 

 

 

 

 

7. Electronics
Exampies: Televisions and radios; audio, video, stereo, and digital equipment oomputers, printersl scanners; music collections; electronic devices
inducing cell phones, cameras, media piayers, games .
l:l No

l ‘(es. Describe .....

 

I Lap top l $1 00.00

 

 

8. Collectlbies of value
Exampies: Aniiques and iigurines; paintings, prints, or other artwork; books, picturesl or other art objecls; slamp, coin, or baseball card ooliections;
other collections memorabllia, coilectibies

l No
l:! Yes. Describe.....

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment bicycles, pool tables, golf olubs, skis; canoes and kayal<s; carpentry tools;
musical instruments

l No
l:l ¥es. Describe .....

10. Firearms
Exemples: Pistcls, rifles, shotguns, ammunition, and related equipment

l No
l:l Yes. Describe.....

11. Clothes
Exampies: Everyday clothes, fu rs, leather coats, designer wear, shoes, accessories

l:l No
l ‘(es. Describe .....

 

l zso.oo l $350.00

 

 

12. Jeweiry
Exampies: Everydayjeweiry, costume jewelry, engagement rings, wedding rings, heirloom]ewe|ry, watches, gems, goid, silver

El No
- Yes. Describe .....

Oft`lcia| Form 106A!B Schedule AfB: Property page 2
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Debtor 1 pamela Sue K|ein Case number (irknown}

 

 

l 2 RingL watch , Neckiace with Cross j $150.00

 

 

13. irion-farm animals
Examples: Dogs, cats, birds, horses

|:i No
- Yes. Descn'be .....

 

la cons l $30.00

 

14. Any other personal and household items you did not already iist, including any health aids you did not list
l No
l:l Yes. Give specific iniormation.....

 

15. Add the dollar value of all of your entries from Part 3, including any entries fo_r pages you have attached
ror Part 3. write that number nero ....... 5133°-°°

 

 

 

Describe Your Financiai Assets

 

 

16. Cash
Exampies: Money you have in yourwailet, in your home, in a safe deposit box, and on hand when you file your petition

l No
Cl Yes ........ .. ...................

17. Deposits of money
Exampies.' Checi<ing, savings, or other financial accounts; certificates of deposit; shares in credit unionsr brokerage houses, and other similar
institutions. if you have multiple accounts with the same institution, list each.
l:l No

l YES institution name:

17.1. Pinnacle Bank $0.00

 

 

18. Bonds, mutual funds, or publicly traded stocks
Exampies: Bond funds, investment accounts with brokerage tinns, money market accounts

l No
[:| Yes __________________ institution or issuer name:

19. Non-publiciy traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
lolnt venture

-No

l:l Yes. Give specinclnformalion about them ...................
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negoliabie instruments include personal checks. cashiers' checks, promissory notes, and money orders
Nori-negoliabie instruments are those you cannot transfer to someone by signing or delivering them.

INo

l:l Yes. Give specific information about them
issuer name:

21. Retlrement or pension accounts
Exampies: interests in iRA, ERlSA, Keogh, 40i(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

-No

El Yes. List each account separatelyl
'i`ype of accounl: institution name:

Otlicial Form 106A/B Schedule AIB: Property page 3
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Debior ‘f Pame|a Sue K[ein Case number (r'fknown)

 

22. Sacurity deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Exampies: Agreements with iandiords, prepaid rentl public utilities {eieciric, gas, water), telecommunications companies or others

-No

ij ¥es. institution name or individuai:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
. No

i:i Yes_____________ issuer name and description

24. interests in an education iRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(i}, 529A(b), and 529{b)(1).

l No
|:| Yes_____________ institution name and description Separateiy tile the records of any interests.ti U.S.C. § 521(0):

25. Trusts, equitable or future interests in property (otber than anything listed in line 1), and rights or powers exercisable for your benefit
. No
ij Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Exampies: internet domain names, websites, proceeds from royalties and licensing agreements

l No
l:l ¥es. Give specific information about them...

27. Licenses, franchises, end other general intangibles
Exampies: Building permits, exclusive iioerises, cooperative association hoidings, liquor licenses, professional licenses

- No
I:] Yes. Give specificinfom'iaiion about them...

 

28. Tax refunds owed to you
l No

Ei ¥es. Give specilic information about them. including whether you already filed the returns and the tax years .......

29. Famiiy support
Exampies: Past due or lump sum aiimony, spousal support, child support maintenance, divorce settlementl property settiement

. No
Ci Yes. Give specific information ......

30. Other amounts someone owes you
Exampies: Unpaid wages, disability insurance payments, disability beneiiis, sick pay, vacation pay, workers' compensation, Sociai Security
benefits; unpaid loans you made to someone else

l No
|:l \'es. Give specific information..

31. interests in insurance policies
Exampies: Hea|th, disability, or life insurance; health savings account (HSA); credit, hcmeowner’s, or renter’s insurance

-No

i:| Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiery: Surrender or refund
_ vaiue:

32. Any interest in property that is due you from someone who has died
if you are the beneficiary cfa living irust, expect proceeds from a life insurance policy. or are currently entitied to receive property because
someone has died.

l No
Ei Yes. Give specificinformation..

Ofiicial Form 106AIB Scheduie AIB: Property page 4
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Debior‘l Pame|a Sue K[ein Case number (i'fki'iown)

 

33. Claims against third parties, whether or riot you have filed a lawsuit or made a demand for payment
Exempies: Accidenis, employment disputes, insurance ciaims, or rights to sue

- No
El Yes. Describe each claim .........

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to setoff claims

l No
Ei Yes. Describe each ciaim...,.....

35. Any financial assets you did not already list
- No
El Yes. Give specific information..

 

 

 

 

 

 

 

 

 

-No

 

 

 

 

 

36. Adcl the dollar value of ali of your entries from Part 4, including any entries for pages you have attached 0 00
for Part4. Write that number here $ '
Describe Any Business-Related Property You Own or Have an interest in. List any real estate in Part 1.
3?. Do you own or have any legal ar equitable interest iri any business-related property?
§ No. en to Part e.
ij Yes. Go to line 38.
Part 6` Describe Any Fan'n- and Commercial Fishing-Related Property You Own or l-lave an interest in.
if you own or have an interest iri farmland, list it in Part 1.
46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
_I No. co to Pari r.
n Yes. Go to line 47.
Describe Ail Property You Own or Have an interest iri That ‘{ou Dicl Not List Above
53. Do you have other property of any kind you did not already |ist?
Exampies: Season tickels, country club membership
l:l Yes. Give specific information .........
54. Adcl the dollar value of ali of your entries from Part 7. Write that number here $0.00
i.isi ina Totals or cash Part or this Form
55. Part 1: Total real estate, line 2 . 5365,000.00

56. Part 2: Total vehicles, line 5 $0.00

57. Part 3: Total personal and household items, line 15 $1,330.00
58. Part 41 Total financial assets, line 36 $0.00
59. Part 5: Total business-related property, line 45 $0.00
60. Part 6: Total farm- and fishing-related propeity, line 52 $0.00
61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61 Copy personal property total

$1,330.00

$1,330.00

 

63. Total of ali property on Scheduie AiB. Add line 55 + line 62

 

$366,330.00

 

 

Officiai Forrn 106A!B Scheduie A.iB: Property
Soliware Copyrighi (c} 1996-201? Besi Case, LLC -\\ww.besicase.oom

page 5
Besi Case Bankruptoy

 

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Fill in this information to identify your case:

 
     
      
   
   
  

Debiorf pamela Sue K|ein
Firsl Name Middle Name LastNerns

 

Debior 2
(Spouse if, tii'ng) Firsl Name Middie Name Lasi Name

 

United States Bankruptoy Court for the: DiSTR|CT OF COLORADO

 

 
     
 
 

Case number
(`l’kncwn}

  

 

~g cheesr1th '

 

Ofiicia| Form 1060
Schedule C: The Property You Claim as Exempt

 

 

 

  
    
    
   
    
 
 
  
 
 
  

 

   

Be as complete and accurate as possible if two married people are filing iogether, both are equally responsible lots plylng correct intv
the property you listed on Scheduie A/B Property (C_>fiicial Form iOSA/B} as your source, list the property that y_o__ "s exempt i_f
needed, fill out and attach to this page as many copies of Part 2: Addiir'onal Pago as necessary On the top of _a_ny_
case number (ii known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption`you`olaim One way of doing sole , _
specific dollar amount as exempt. Aiternatively, you may claim the full fair market value of the property being exempted up tp _th empl
any applicable statutory iimlt. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-eter _
funds-may be unlimited in dollar amount. However, if you claim an exemption 0f100% of fair market value under a law that limits
exemption to a particular dollar amount and the value of the property' rs determined to exceed that amount, your exemption wo i
to the applicable statutory amount. _

ldenti the Property You Claim as Exempt

1. Whlch set of exemptions are you claiming? Checkone only, even if your spouse is ailing with you,

 

  

 

l You are claiming state and federal nonbankruptcy exemptions ‘ii U.S.C. § 522(b)(3)
El \’ou are claiming federal exemptions 11 U.S.C. § 522(b){2)

2. For any property you listen Scheduie A/B that you claim as exempt, fl|l' rn the information below.

       
   
   
   
  

2802 South Oakland CirWest Aurora $365 000 no - 5102 906 41 Colo. Rev. Stat. §

CO 80014 Al‘apaho& COt.li'tliy _’ __’ 3841_201(1)(!)) `_ 7
L|ne from Schadule A/Bi 1-1 m 109% affair marketvalue, up to :`

any applicable statutory limit

 

Couch, Tv, 2 Chairs,Coffee Table, 2 swann - $700_00 Colo. Rev, Stat. §
eBm;tabz|e§, Dining Tv%biel:|$ Cct;airs, 2 _ g _ 13-54~102(1)(9)

a s ressers , as er, ryer, 100% of fair market value, up t_o _
Stove: Fridge, Desk, Chalr _ any applicable statutory limit '

L|ne from Schedule A/B: 6.1

 

Lap top _ 100_00 7 Colo. Rev. Stat. § -'
Linefrom ScheduieA/B: 7.1 mw - ~_------r-§~»--w~ 13-54-102{1){6)

Cl 100% affair market varue, up re
any applicable statutory limit

 

250.00 coro. Rev. stat §" f
5 .00 . 350.00 .-
L|lle flom Sch€dule A/B: 11.1 A - _$_. 13_54_102(1)(3) _=; __
n 100% of fair market value, up to

any applicable statutory limit

 

3 Dogs 30.00 30'00 c°l°. Rev. Statn § " 7
Line from Schedule AfB: 13.1 __$ - »_--_-$_ 13-54-102(1)(9)
- m 100% of fair market value, up to
any applicable statutory limit

 

Ofiicia| Form 1060 Scheduie C: The Property You Claim as Exempt
Soltware Copyright (c) 1996-2017 Bast Case, LLC -ww.v.besicese.oom

Case:la-lzeze-JGR Doc#:z Filed:04/11/1a Enrered:04/12/1a 09:4:8:"_25 Pag_e`z

Debior 1 Pameia Sue K|ein Case number (rfknown)

 

 

3. Are you claiming a homestead exemption of more than $160,375? '
(Subject to adjustment on 4/01!19 and every 3 years after that for cases filed on or after the date of adjustment.)

 

 

 

' l No' _
. girl El Yes. Dici you acquire the property covered by the exemption within 1,215 days before you liled this case?
. _ ft No
l:l Yes
Ofnciai Fon'n 1060 Schedule C: The Property ¥ou Cialm as Exempt page 2 cf 2

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"Fi|l in this information to identify your case:

Debiori Pameia Sue K|ein
Firsl Name i.iiddle Name Last Name

Debior 2
(Spouse if, iiing} Firsl Name lriiddle Name Last Name

 

United Siates Bankruptoy Courlfor the: DlSTRiCT OF COLORADO

 

Case number
iii l<m-vn) ij Checl< il this is an
amended filing

 

 

 

Officiai Form 'iOSD
Schedule D: Creditors Who Have Claims Secured by Property 12115

Be as complete and accurate as possiblo. if two married people are filing together, both are equally responsible for supplying correct lnformation. if more space
is neededr copy the Additlonal Page, fill il out, number the entries, and attach it to this fon'n. On the top of any additional pages, write your name and case
number (it known).

1. Do any creditors have claims secured by your property?
l:l No. Checl< this box and submit this form to the court with your other schedulesl You have nothing else to report on this form.

- Yes. Fill in all of the information below.
List All Secured Claims

 
       

 

 

 

 

 

 

 

 

..__ 4, .t:§ r. ,u §‘_.-r._. .~..
IQ.l l Mr Cooper Describe the property that secures the claim. , $203,158.96 $365,000.00 $0-00
C'°dl‘°"s "i““° 2802 South Oakiand Cir West `
Aurora, CO 80014 Arapahoe County
assn cypress r;tp.;;>_f the date you frie, the claim is: cheek an that
Coppell, TX 75019 ij Co,,gngem
uumber. street ciiy, stare a zip care ij unisquidated
m Disputed
Who owes the debt? Check orie. Nature of lien. Check ali that apply.
. Debior t only - An agreementyou made (such as mortgage or secured
ill Debior 2 oriiy °al '°a")
l:] Debtori and Debiorz only E:] Staiutory lien (such as tax Een, medianlo's lien}
l:l At least orie of the debtors add another cl Judgmerit lien from a lawsuit
l;l Checlt if this claim relates to a ij Olher (inciudiag a right to offsei)
community debt
Date debtwas incurred 08102[2002 Last 4 digits of account number 0657
12.2 iWest Coast Serving Describe the property that securesthe clalm: $58,934.63 $365,000.00 $D.UU
C“id"°*’$ "‘""“ 2802 South Oal-cland Cir West

Aurora, CO 80014 Arapahoe County

 

 

 

7911 Warner Ave AS Of me date you fuel the Clalm lS: Ch'ECk all that

 

 

l-luntington Beach, CA apw_
92647 l:I Conlingent
Numbar, street ctry, state a zip code |3 unliquidated
E| prepared
Who owes the debt? Checic one. Nature of lien. Checir all that appiy.
- Debior 1 only g An agreement you made (such as mortgage or secured
l
l:l Debior 2 only car Dan)
|Il Debior t and camera oniy El statutory iran reach as tax iien, mechanics iien)
ij At least one of the debtors and another l:l .ludgment lien from a lawsuit
m Check if this claim relates to a l:l Olher (inciuding a right to otisel)
community debt
Date debt was incurred Last 4 digits of account number 1570
Oilicial Form iOSD Schedule D: Creditors Who Have Claims Secured by Property page 1 of 2

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Debtor 1 Pameia Sue Kie|n Case number (nkne.v)

 

 

Fvst Name Middle Nzune Last Name

 

  

Q th page $262,093.59

   

 

 

 

|fthls ls the last page of yourforrn add the dollar value totals from all pagesl iv _
Write that number here: , $252,093.59

 

 

 

 

Oiiicia| Form 1060 Addiiiona| Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 2

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Fill in this information to identify your case:

Debiort Pameia Sue K|ein

Firsl Name iriiddie Name Last Name

Debior 2
(Sl>wse if. filtrol

 

i-'irst Name Middie Name Last Name

DiSTR|CT OF COLORADO

United States Bankruptoy Coun for the:

 

Case number
(ltknon'n)

 

|:| Check if this is an
amended iiling

 

 

Official Form 106E/F
Scheduie EIF: Creditors Who Have Unsecured Claims 12115

Be as complete and accurate as possible. Use Part1 for creditors with PRiORiTY claims and Part 2 for creditors with NONPRiORiT‘( cialms. Lllt the other party to
any executory contracts or unexpired leases that could result in a ciaim. Aiso list executory contracts on Schedule NB: Property (Otficial Form 106N'B) and on
Schedule G: Executory Contracts and Unexpired i_eases (Offlcial Form 1066). Do not include any creditors with partially secured claims that are listed in
Schedu|e D: Creditors Who Have Claims Secured by Property. lf more space is needed, copy the Part you need, fill it out, numberthe entries ln the boxes on the
left. Atiach the Continuation Page to this page. if you have no information to report in a Part. do not file that Part. On the top of any additional pagesl write your
name and case number iii known).

List All erYdur PnloRlTY unsecured claims
1. Do any creditors have priority unsecured claims against you?

l Nd. co lo Pan 2.

El ¥es.
ma List Ali onour NoNPRloRlTY unsecured claims

3. Do any creditors have nonpriority unsecured claims against you?

i:i No. ‘l'ou have nothing to report in this part Submit this form to the oourtwilh your other schedules

l Yes.

 

 

 

 

 

 

      

 

 

 

 

 

|4,1 } Arapahge CU Last4 digits ofaccount number 5298 $2,000.00
Nonpriority Creditor's Name
3939 E. Arapahoe Rd_ When was the debt incurred? 2017
thtleton, CO 80122
Number Sfreet City Staie le Code As ofthe dale you fl|e, the claim is: Check all that apply
Who incurred the debt? Cheol< one.
l Debiort only i:l Contingent
cl Debior2 only m Uniiquidaled
ill canton and Debior 2 only lIi prepared
g Ai least One of me demors and another Typ@ Of NONPRlORITY l.ll'lEeCLll'Ed Clail'i‘|:
n Check |f this claim is for a community n Swdem loans
dam ij Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l No [:l Debts to pension or protit-sharing pians, and other similar debts
E ‘fes l olhor. Speclfy
Oft'rciai Form t 06 Er'F Scheduie EIF: Creditors Who Have Unsecured Claims Page 1 of 6

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Debior 1 Pameia Sue Klein

4-2| BkColorado

 

 

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Case number (il know)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last4cligits of account number 0118 $5,0‘¥9.00
Nonprion'ty Creditor's Name
1609 E Harmony Rd. when was the debt indun-dd? 2013
Fort Coiiins, CO 80525
Numtler Street City State le Code As of the date you filer the claim is: Checi< ali thatappiy
Who incurred the debt? Check one.
- Debior 1 only g Contingent
g Debior 2 only ij Uniiquidated
Ei Debior 1 and Debior 2 only ill prepared
g m feast one of me debtors and another Type of h|Oi~tPRlORiT‘lr unsecured clalm:
5 check irons claim le far a community m S“’de'“ *°a“S
debt i:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to oiiset? report as priority claims
l No i:l Debts to pension or profit-sharing plans, and other similar debts
5 Yes l olher. specify
|4.3 | Bk Cglgrado Last 4 digits of account number 0317 $5,000.00
Nonpriority medith Name
When was the debt incurred? 2017
1609 E. Harmony Rd.
Numt>er Street Gity State le Code As of the date you fl!e. the claim ls: Check ali that apply
Who incurred the debt? Checi< one.
- Debior 1 only l:l Contl`ngent
Ei Debior 2 only |Ii unliquidated
g Debtor 1 and Debior 2 only l:f Disputed
m At least one of the debtors and another TVP° of NONPR'oR'TY unsecured °'a'm:
5 Check if this claim is for a community n Studem i°a"S
debt m Ot>il`gations arising outoi a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l No l:i Debts to pension or prettt-sharing pians, and other simiiar debts
i:l Yes l Other, Specify
|4.4 | Cap1[HLZBG Last 4 digits of account number 9444 $2,752.00
Nonpriority Creditor‘s Name
26525 N Riverwoods Blvd when was the debt incurred? 2017
Lake Forest, lL 60045
Number Sfreel City State Zip Code As ofthe date you f||e, the claim ls: Cheok all that apply
Who incurred the debt? Check one.
- Debior 1 only l:l Contingent
g Debior 2 only m Unliquidated
ill Debior 1 and Debior 2 dnry El oispuled
ij At least one ofthe debtors and another TYFe of NONPR‘°R'TY "“'°°“r°d °mm:
i:l Check if this claim is for a community m Studemi°ans
debt ij 0hitgations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l No |:l Debls to pension or prolit‘sharing plansl and other similar debts
i:l Yes l Other. Spec?iy
Oiliclai Form 106 El'F Scheduie EIF: Creditors Who Have Unsecured Claims Pagc 2 of 6

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Debiort Pameia Sue K|ein

 

 

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Case number (ir lino.v)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

|4.5 l cBanB¢-yant l_ost 4 digits or account number 4152 $750.00
Nonprlority Creditor's Name
PO BOX182273 When was the debt incurred? 2017
Columbus, OH 43218
Number Slreet City State Z|p Code As of the date you file, the claim is: Cheok all that appty
Who incurred the debt? Checic one.
- Debior‘l only El Conijngent
E:l Debior 2oniy |:l Unliquidated
cl Debior i and Debior 2 only n Disputed
[I At least one of the debtors and another Type °f N°NPR[°R[TY unsecured °uum:
ij Check lfthls claim ls for a community E Studem loans
debt E Obiigat'lons arising out of a separation agreementor divorce that you did not
ls the claim subject to offsat? report as priority daims
l No ij Deth to pension or profit-sharing pians, and other similar debts
ij yes l other. Speciry
14.6 l CCB[BOOTBN Last 4 digits of account number 0094 $750.00
Nonpnority creditors Name .
when was the debt incurred? 2017
Number Sireet C'rty State le Code As of the date you filel the ciairn ls: Check all that apply
Who incurred the deht? Cheot< one.
l Debtor1 only n Contingent
Cl Debior 2 only ij Untiquidatad
n Debior 1 and Debior 2 only m Dispoted
E At least one cf ma debtois and another Type Of NONPR[OR|TY unsecured Clalm:
iii check irtlilo claim ic fora community n S“‘de'“ ‘°a"~°’
debt l:i Obligations arising out of a separation agreement or divorce thatyou did not
ls the claim subject to offse\? report as priority daims
- No 5 Debts to pension or prolit-sharing plans, and other similar debts
5 Yes l othcr. Spocify
4-7 l COmeriify Bank]Buckle Last 4 digits of account number 3446 $472_00
Nonpriority Creditor‘s Name
PO BOX 182789 When was the debt lncurred? 2011
Co|umbus, OH 43218
Ntlmber Street City Siate le Code As ofthe data you fi|e, the claim ls: Checlc all that appty
Who incurred the debt? Check one.
- Debior1 onty l:i Contingent
ill Debior 2 cniy Et unliquidated
El Debior 1 ami Debior 2 only Ei Dispoted
l:f At least one of the debtors and another Type °f NONPR'°R'TY unsecured °uum:
Et check lithis claim is rcra community n S‘"d‘i“"°ans '
debt t:l Obligations arising out of a separation agreementor divorce that you did not
ls the claim subject to offset? report as priority claims
l No |:l Dei)ts to pension or protit-sharing plansl and other similar debts
El Yes l omcr. specify
Oifioial Form 106 E!F Schedule El'F: Cred|tors Who Have Unsecured Claims Page 3 of 6

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Debiori Pameia Sue K|ein Case number (irtmc.v}
145 l Credif One Bank NA Last 4 digits of account number 3729 $1 ,072.00
Nonpriority Creditor's Name
PO BOX 93375 When was the debt incurred? 2016
Las Vegas, NV 89193
Numi)er Strcet City State le Code As of tile date you fi|e, the claim is: Check ali that apply
Who incurred the debt? Checi< one.
l Debiori only l:i Contingent
i:l Debior2 only n Unliquldated
i:i Debior 1 and oeetcr 2 only ij olspute<l
i:i At least one ofthe debtors and another YYPQ °f NGNPR'oR'TY unsecured °uum:
Ci check irtlilc claim is rcra community g 3‘"56““°3"$
debt m Ob|igalions arising out of a separation agreement or divorce that you did not
is the claim subject to offsel? report as priority claims
l No l:i Debts to pension or profit-sharing ptans, and other similar debts
l:i Yes - Other. Specify
4.9 | Go|den PL CU Laet4 digits of account number 1000 523,139.30
Norlprlor'ity Creditor's Name
1714 E. KanSaS When was the debt incurred? 2016
Garden City, KS 67846
Number Street City Stale Zip Code As of the date you flie, the claim ls: Checi< all that apply
Who incurred the debt? Check one.
l Debior‘l only l:i Contingent
Ei Debior 2 only iii unliquidated
n Debiort and Debtor 2 only n Disputed
m Al least one of the debtors and another Typu °f N°NPR'°R'TY unsecured uuum:
I:l Check iitilis ciaim is for a community n Sfuu°nt loans
debt i:i Obligal.ions arising out of a separation agreement or divorce thatyou did not
is the claim subject to offset? report as priority claims
§ Nn m Debts to pension or proiit-sharing plans. and other similar debts
Ei Yes l olson specify
4.1
g KOhlSICapOt‘ie Last 4 digits of account number ' 8609 $533-00
Nonpriority Creditor’s Na me
When was the debt incurred'i‘ 2017
Number Street City State Zip Code As of the date you file, the claim is: Checl< atl that apply
Who incurred the debt? Chccl< one.
l Debior 1 only l:i Contingent
l:i Debior 2 only l:i Unliquldated
iii Debior 1 ann Debior 2 only ill oispuleo
g At lean one ofthe dab£ors and another Type of NONPRlORlTY unsecured cialm:
m Check if this claim is tore community n Stuuenuoans
debt ij Obiigations arising out ofa separation agreement or divorce that you did not
is the ciaim subject to offset? report as priority claims
l No l:l Debts to pension or prolit-sharing plans, and other similar debts
m Yes l Oiher. Speciiy
Oi‘l'lcial Form 106 EIF Schedl.lte El'F: Creditors Who Have Unsecured Claims Page 4 of 6

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DethFi Pameia Sue K|ein

 

 

 

 

 

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Case number (irkno.y)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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1 Merrick Bk Last d digits of account number 1536 $700-00
Nonpriority Creditor’s Name '
10706 S Jordan Gateway When was the debt lncurred? 2017
South Jordarl, UT 84095
Nurnber Street City Siate le Code As of the date you ii|e, the claim is: Check ali that apply
Who lncurred the debt? Check one.
- Debiorl only i:l Conl.ingent
l:l Debior2 only i:l Unitquidated
|:i Debior 1 and Debior 2 only Ei cispolen
i:i At least one of the debtors and another TYPe cf NUNPR'OR'TY unsecured cuun`n
I:i Check if this claim is fora community a Su‘uem loans
debt " i:i Obligations arising out of a separation agreement or divorce thatyou did not
lathe claim subject to offset? report as priority claims
l Ng i:i Debls to pension or profit-sharing pians, and other similar debts
ij Yes - Other. Spec'rfy

4.1 '

2 NSTARJCOOP€I’ Last 4 digits of account number 0657 $202»113-00
Norlprion'ty Creditor's Name
PO Box 650783 When was the debt tncurred? 2018
Dailas, TX 75265
Number Street City Siate Zip Code As of the date you file, the claim ls: Checlc all that apply
Who incurred the debt? Check one.
l Debiori only m Contingent
n Debt0r2 only m Unitquidated
m Debiori and Debior 2 only m Disputed
m At least one or me debtors and another type of NONPR[ORHY UnBECL||’Hd Glaii'i‘|i
iii check irons claim le lora community m Sl“d@“\ loans
debt n Obiigations arising out of a separation agreement or divorce that you did not
is the claim subject to oilset? report as priority claims
l N° i:i Debts to pension or profit~sharing pians, and other similar debts
iIi yes l other. specify

4.1

3 SYNCBICareCR Last 4 digits of account number 4942 $5,@00-00
Nonpr|ority Crediior's Name

When was the debt incurred? 2017
Number Street City Siate le Code As of the date you ftle, the claim is: Checl< ali that apply
Who incurred the debt? Check one.
. Debior 1 only 1:| Contingenl
Ei oeblnrz only i:l unliquidated
i:i Debior 1 and Debior 2 only |:l Disputed
i:i At least one of the debtors and another Tyne cf NoNPR'oRlTY unsecured c'c'm:
i:[ Checlc if this claim is fora community n Su’ucnt loans -
debt l:i Obligations arising out of a separation agreementor divorce thatyou did not
is the claim subject to offset? report as priority claims _
l No i:l Debts to pension or prolit-sharing pians, and other similar debts
n Yes l Oiller. Specify
Orflciai Form 106 E)'F Schedule EIF: Creditors Who Have Unsecured Claims Fage 5 of 6

Besi Case Bankmplcy

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Debiort Pame|a Sue K|ein Case number (irknnn)
4.1 .
4 SYNCBlSternmart Last 4 digits or account number 6763 $1 ,334-00
Nonpriority Creditor's Name
When was the debt lncurred? 2011
Number Street City Siate le Code As of the date you ille, the claim ls: Check all that apply
Who lncurred the debt? Check one.
- Debior 1 only l:l Contingent
ij Debior zonly lIi unliquidated
El Debiori and Debior2 only l:\ Dispuled
f:| m yeast one of me debtors and another Type of NONPRIORITY unsecured cialm:
n Cl'leck if this claim is for a community m Smuenf loans
debt i:l Obligalions arising out ot a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims ‘
l No m Debls to pension or pruitt-sharing plans, and other similar debts
l:i Yes - Other. Specify

 

 

must others lo eo llolirieul About a oebr ThatYou Alreany l.lsrnn

6. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed irl Parts 1 or 2. For example, ll a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Slmllarly, lfyou
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. if you do not have additional persons to be
notified for any debts in Parts 1 or 2x do not fill out or submit this page.

-Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
type of unsecured ciaim.

 

 

6a Domestic support obligations Sa. $ o_gg
Gb. Taxes and certain other debts you owe the government 6b s (]_00
Sc. Claims for death or personal injury while you were intoxicated 60. s ` {}_00
Sd. Other. Add ali other priority unsecured claims Write that amount here. Gd. 3 0_0[)
Se. Total Priorlty. Add lines 6a through od. 6e. 3 g_og

 

 

 

 

 

 

 

 

 

6!. Stuclent loans _ of. 3 ii 7 {]_[)0
og. Obiigatione arising out of a separation agreement or divorce that _ 0 00
you did not report es priority claims 69 3 '
Sh. Deth to pension or profit-sharing plansl and other similar debts 6h. $ o_g[}
6|. Rlll;r. Add all other non pnorrty unsecured claims. Write that amount 6l. s 255,684_30
6j. Total Nonpriority. Add lines of through 6i. Sj. $ 255 684_00

 

 

 

 

Oliiclal Form 106 EIF Schedule ElF: Credltors Who Have Unsecure'd Claims Pege 6 of 6
Sol'tware Copyrighi (c} 1996-20t? Besi Cese, LLC -umw.bestczse.oom Besi Case Baniduplq'

 

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Fill in this information to identify your case:

Debiorl Pameia Sue Kiein
Firsl Name htiddle Name Lsst Name

 

Debtor 2
{Spouse if, lif'rig) First Name bliddle Name test blame

 

United Sfaies Bankruptoy COurt for the: DlSTRlCT OF CO]_ORADO

 

Case number
i`v‘ miami i:| Check if this is an
amended filing

 

 

 

Officia| Form 1066
Schedule G: Executory Contracts and Unexpired Leases mrs

 

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

t. Do you have any executory contracts or unexpired leases?
- No. Check this box and file this form with the court with your other schedules You have nothing else to report on this tonn.
l:l Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Froperty(Oh'lcia| Form 106 NB).

2. List separately each person or company with whom you have the contract or lease. Theri state what each contract or lease is for (for
exampla, rent, vehicle iease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired leases.

 

 

 

 

Name

 

Number Street

 

City State ZlP Code
2.2
Name

 

 

Number Sireet

 

City Staie ZlP Code
2.3
Na me

 

 

Number Street

 

 

 

 

 

 

 

 

 

 

City State ZlP Code

2.4
Name
Numt)er Street
Clty State ZlP Code

2.5
Name
Number Street
City State ZlP Code

Ofnciai Form 1066 Scheciule G: Executoi'y Contracts and Unexpirecl Leases Page 1 of 1

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CaSe:lS-lZQZQ-.]GR DOC#ZZ FiledZO4/1l/18 Eiitei’ed:O4/12/1809248225 PageSB Oi42

Fiil in this information to identify your case:

Debiorl Pameia Sue K|ein
Firsl Name Middle Name Last Name

De btor 2
{Spouse i'i, ni`rig) First Name ill iddle Name Last Name

 

United Siates Bankruptoy Court for the: DiSTR|CT OF COLORADO

 

Case number
f¢fknomu ij Cheol< if this is an

amended hiing

 

 

 

Oiiiciai Form 106H
Schedu|e H: Vour Codebtors 12:15

Codehtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possibie. if two married
people are filing together, both are equally responsible for supplying correct information. lt more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the lett. Attach the Additional Page to this page. On the top of any Additionai Pages, write
your name and case number (if known). Answer every question.

1. Bo you have any codebtors? (lfyou are filing a joint case, do not list eitherspouse as a codebtor.

l No
El Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Commurii'iy property states and territories include
Arizona, Caiiiornia, idaho, Louisiana, Nevada, New Mexioo, Puerto Rico, Toxas, Washington, and Wisconsin.)

l No. Go to line 3.
l:i ‘i'es. Did your spouse, former spouse, or legal equivalent iive with you at the time?

3. in Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you, List the person shown
in line 2 again as a codobtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Ofticial
Form 1060), Scheduie EIF (Officlai Form 106EIF), or Schedule G (Officiai Form 1066}. Use Scheduie D, Schedule EIF, or Scheduie G to till
out Column 2.

__§

   

 

 

 

 

 

 

]3.1 l E| Scheduie D, line
Name iii scheduie ErF, line
l:i Scheduie G, line
Nunber Sireet
Cit'y Stale ZlP Code
l3.2 l ' L_.i Scheduie D, line
Name Ei schedule ErF, iine
i:l Scheclule G, line
Nu'nl)or Street
city state ziP code
Ofliciai Form 106H Schedule H: Your Codebtors Page ‘l ofi

Soltware Copinth (c) 1996~2017 asst Case, l_LC -w.vw.bestcsse.oom Besi Case Bankmptcy

CaSe:lS-lZQZQ-.]GR DOC#ZZ FiledZO4/ll/18 Entered:O4/12/18 09248225 PageS€ Of42

Fill in this information to identif our case:

Debior1 Pameia Sue K|ein

 

Debior 2
(Spouso, ift'\ling)

 

United Stales Bankruptoy Court forthe: DlSTRiCT OF COLORADO

 

Case number Cheol< if this is:

l“"'*°"“" ' ij An amended filing

El A supplement showing postpetition chapter
13 income as of the following date:

Officia| Form 1061 m
Schedule l: Your income wis

Be as complete and accurate as possible. lf two married people are filing together (Debtor1 and Debtor 2), both are equally responsible for
supplying correct information. if you are married and not filingjointly, and your spouse is living with you, include information about your
spouse. if you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number l|f known). Answer every question.

Describe Employment

1. Fll| in your employment

information. l 7 j lieu

 

 

 

 
   

if you have more than one job, E l t t t m Employed g Emp|oyed

attach a separate page with mp °ym°n S a us

information about additional l Not employed g Not emmede
l .

emp evers occupation Retired

 

include part-time, seasonai, or
self-employed work. Empl°llel"$ flame

 

Oocupat|on may include student Emp[°llel"$ address
or homemaker, if it appliesl

 

How long employed there?
Give Detalls About Monthiy income

Estimate monthly income as of the date you tile this form. lf you have nothing to report for any iine, write $0 in the spaoe. include your non-filing
spouse unless you are separated

lfyou or your non-filing spouse have more than one employer, combine the information for all employers forthat person on the lines below. if you need
more spaoe, attach a separate sheet to this tonn.

 

List monthly gross wages, salary, and commissions (before all payroll

 

 

 

2- deductions). if not paid monthly, calculate what the monthly wage would be. 2- 3 0-0° $ N’A
3. Estimate and list monthly overtime pay. 3. +$ 0.00 *$ NIA
4. Calculate gross lncome. Add line 2 + line 3. 4. 3 0.0(} $ NIA

 

 

 

 

 

Ofticial Form 106l Schedute l: your Income page 1

CaSe:lS-lZQZQ-.]GR DOC#ZZ FiledZO4/ll/18 Entei’ed:OA,/lZ/J_S 09248225 PageS? Oi42

Debior1 Pame|a Sue K|ein - Case number (ifkrmn)

Copy llne4 hare 4- 0.00 $
5. List all payroll deductions:
5a Tax, Medicare. and Social Security deductions 58. $ 0.00 $ NlA
5b. Mandatory contributions for retirement plans 5b. $ 0.00 $ NIA
l')c. Vo[untary contributions for retirement plans 5c. $ 0_00 $ NlA
5d. Required repayments of retirement fund loans Sd. $ 0,00 3 NlA
5e. insurance 59. $ 0.00 5 NlA
5f. Domestic support obligations £>fv $ 0.00 $ NlA
59. Union dues 59. $ 0.00 $ NIA
5h. Other deductions. Specify: 5h. $ 0.00 + $ NIA
Add the payroll deductions. Add lines 5a+5h+50+5d+56+5f+59+5h. 6. $ 0.00 $ NIA
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 0.00 $ NIA
List all other income regularly received:
Ba. Net income from rental property and from operating a business,
profession, or farm
Al'lach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. Sa. $ 0.00 $ NiA
Bb. interest and dividends v Sb. $ U.le $ NIA
8c. Famlly support payments that you, a non-filing spouse, or a dependent
regularly receive
lnclude alimony, spousal support, child support, mainlenance, divorce
settlementr and property settlement 8c. $ 0.00 $ NIA
8d. Unemploymsnt compensation Sd- $ 0.00 $ NlA
Se. Social Security 89. 3 0.00 3 NFA
8f. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (beneiils under the Supplemental
Nutrilion Assistance Program) or housing subsidies `
Specity: Bf. 5 0.00 $ NIA
89. Pension or retirement income 59- $ 3,700.00 $ NIA
8h. Other monthly income. Specify: Sh.+ $ 0.00 + $ NIA
9. Add all other income. Add lines 8a+8b+8c+8d+8e+8f+89+8h. 9. $ 3,700.00 $ NlA
10. Calculate monthly income. Add line 7 + line 9. 10. $ 3,700.00 + $ NIA = $ 3,700.00
Add the entries in line 10 for Debior1 and Debtor 2 or non-filing spouse
11. State all other regular contributions to the expenses that you list in Scheduie J.
include contributions from an unmarried partner, members of your househoid, your dependents your roommates, and
other friends or relatives
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Sclieduie J.
Specify: . 11. +S U.OU
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary ofSchedufes and Sielislical Summary of Certain Liabiir'ties and Related Data, if it
applies $Ml
Combined
monthly income
13. Do you expect an increase or decrease within the year after you file this fon'n?
I No.
ij Yes. Exp|ain: l
Ot’ticial Form 1061 Schedule I: Your Incnme page 2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Fill in this information to identify your case;

Debi€il"i Pame|a Sue K|ein CheCi( if this iSI

 

 

 

ij An amended filing
Debior 2 ij A supplementshowing postpetition chapter
{Spouse, ifnling) 13 expenses as of the following dale:
United States Bankruptoy Court ior the: D|STRICT OF COLORADO MM l DD / YYYY

 

Case number
(lf known)

 

 

 

Official Form 106.) _
Schedu|e J: Your Expenses lens

 

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
lnformatlon. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Describe Your Household

 

‘i. ls this a joint case?

l no. so to line 2_
l:i Yes. Does Debior 2 live ln a separate househoid?

l:i No
i:i Yes. Debior 2 must file Oflicial Form 106.1-2, Expenses for Separate Househoid of Debior 2.

2. Do you have dependents? l No

Do not list Debior 1 and g \reg,v Fill outthisiniorrnation for Dependent’s relationship to Dependent’s Does dependent
Debior 2_ each dependenl........`..... Debior 1 or Debior 2 age live with you?
Do not state the i:i No
dependents names. ['_'} Yes

i:i No

Ei Yes

l:| No

i:l Yes

i:i No

i:i ¥es

   

 

 

 

 

3. Do your expenses include l NO
expenses ot people other than m
yourself and your dependents? Yes

Estimate Your Ongoing Monthiy Expenses

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Scheduie J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included lion Scheduie i: Vour income
(Ol"flclal Form 106|.)

 

4. The rental or home ownership expenses for your residencel include first mortgage 1 5 5 00
payments and any rent for the ground or iot. 4. $ , 5 -

if not included in line 4:

 

 

 

 

4a. Real estate taxes 4a. 3 0.00
4l). Property, homeowners or renter's insurance 4b. $ 0.00
4c. Home maintenance repair, and upkeep expenses 4c. $ 0_00
4d. Homeowner`s association or condominium dues dd. $ 0.00
5. Addltlonal mortgage payments for your residence, such as home equity loans 5. $ 0.00

 

Olt`icial Form 106.1 Schedule J: ¥our Expenses pagel

6.

16.

17.

18.
19.

20.

21.
22.

23.

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Debior 1 Pameia Sue K|ein Case number tit known)

Utiiities:
6a. Electricity, heat, natural gas 6a $ 225.00
Sb. Water, sewer, garbage collection 6b. $ 185.00
60. Teiephone, cell phone, internet, satellite, and cable services 6c. $ 300.00
6d. Other. Specify: Bd. 5 0.00
Food and housekeeping supplies 7. $ 600.00
Chiidcare and children’s education costs 8. $ U.UD
Clothing, taundry, and dry cleaning 9l 3 200.00
Personai care products and services 10. $ 150.00

. Medical and dental expenses ll- $ 700.00
Trans ortatlon. include as, maintenance bus ortrain fare.
Do notp include car paymegnts. 12- 3 20°‘00
Entertainment, ciubs, recreation, newspapers, magazines, and books 13. $ D,Ot}
Charitabie contributions and religious donations 14. $ 200.00
lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 158. $ 0.00
15b. Heaith insurance 15b. $ 0.00
15c. Vehicie insurance 150. $ 175.00
15d. Oiher lnsurance. Speoiry. 15d. $ 0.0D
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. $ 0.00
installment or lease payments:
17a. Car payments for Vehicie t 17a. $ 485.00
17b. Car payments for Vehicie 2 17b. $ 0.00
t?c. Other. Speciiy: ' 176. $ 0.00
1?d. Other. Specify: t?d. $ 0.00
Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Scheduie i, Your income (Ofiicial Form106i). 18- 5 o'oo
Other payments you make to support others who do not live with you. $ 0.00
Specify: 19.
Other real property expenses not included in lines 4 or 5 of this form cr on Scheduie i: Your income.
20a. Mortgages on other property 20a $ 0.00
20b. Real estate taxes 20b. $ 0.00
20c. Property, homeowner’sl or renter’s insurance 206. $ 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ 0,00
20e. Homeowner`s association or condominium dues 20e. $ 0.00
Other: Specify.' 21. +$ 0.00
Calculate your monthly expenses
22a. Add lines 4 through 21. 3 4,985.00
22b. Copy line 22 (monthiy expenses for Debior 2}, if any, from thciai Form 1063-2 $
22c. Add line 22a and 22b. The result is your monthly expenses $ __”__4,_985"(.]~0_
Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Scheduie |. 23a. $ 3,700.00
23b. Copy your monthly expenses from line 220 above. 23b. -$ 4,985.00
230. Subtract our month| ex enses from our month| income.

The resui>t is your mozrthi)€ net income.y y 23c. $ -1.235-00

24.

Oit`rcial Form 1063

 

 

 

Do you expect an increase or decrease in your expenses within the year after you file this form?

For examplel do you expect to finish paying for your car loan within the year or do you expect your mortgage payment

modification to the terms cf your mortgage?
- No.

to increase or decrease because ci a

 

Ei Yes. l Expiain here:

Scheduie J: Your Expenses

page 2

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Fill in this information to identify your case:

 

 

 

Debtorl Pameia Sue K|ein

Firsl Name Middie Name LastName
Debior 2
(Spouse if. fil`ng) Firsl Name kiiddie Name LastName

United States Bankruptoy Court for the: DiS`i’R|CT OF COLORADO

Case number
id mt ij Cheok if this is an
amended filing

 

 

Otficia| Form 10SDeo
Dec|aration About an individual Debtor's Scheduies we

lf two married people are filing together, both are equally responsible for supplying correct information

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20

years, or both, 18 U.S.C. §§ 152, 1341, 1519, and 3571.

- Sign Beiow

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

 

fine

l Yes. Name of person Brennah Mares Attach Bankruptoy Peiiir'on Preparer's Notr'ce,

Deciaraiion, and Signature (Ofticiai Form 119)

ty of perinry, l declare that l have read the summary and schedules filed with this declaration and

rue cl correct.
¢:/ %‘V%YL/ x

PamelavSue K|ein

Signature of Debior 1 g/
Date '<%"'/0 `/ / Date

Und epe-na

 
   

 

 

Signature of Debior 2

 

Olnc|al Form tOb`Dec Deciaration About an individual Debtor's Scheduies

Soltware Cop)rhhl {c) 19%-201? Besi Case, LLC - mw.bestcase.oom Besi Case Bankruptq,'

CaSe:lS-lZQZQ-.]GR DOC#ZZ FiledZO4/ll/18 Elitered:O4/12/18 09248225 Page410l42

Local Bankruptoy Form 1002-1.1
COVER SHEET FOR PET|'I`ION
CHECK APPLICABLE BOXES TO SHOW ALL'BOCUMENTS A'I"I`ACHED

 

Name of debtor(s): l:lAttorncy (f'rrm name, address, telephone, and registration
number):
Pameia Sue K|ein

[ENo Attorncy (“pro se")(home address, tciephone):

 

 

 

 

Filing fee:

iii $335 for chapter 7

l:i $t,'m err chapter 11

l:l $275 for chapter 12

fl $3!0 for Chapter 13

l:l Othcr fee paid $ . Enter amount AND attach applicable application under FED.R.BANKR.P. 1006 to pay in

installments or pursuant to 28 U.S.C. § l930(f) (if applicablc).

 

 

Individual and business debtor(s) (except as otherwise noted):

 

l§]

Exhibit D Statement of Complianco with Crcdit Counsciing Requirement for each individual debtor (a list of ali
authorized Crcdit Counselors for Colorado is found at http:r'/www._usdoj.gov/usi or the court has a list that may be viewed
in the Records/Public Inforrnation Room 114 of the court.)
Voluntary Pctition a Ot`ficial Fonn l
Statement ot` Financiai Aft`airs ~ Ofticial Form 7
Summary of Scheduies A~J ~ OHicial Form 6-Summary
Scheduies A, B, C, D, E, F, G, H, I, and .l s Ol`licial Forms 6A, GB, 6C, 6D, 6B, 6F, 61 and 61
Declaration Conccrning Debtor’s Scheduies - Official Form 6~Deolaration
Noticc to Dobtor by Non-Attorney Ban kruptcy Petition Preparer - 0fl`1cial Form 19
(submittcd only if debtor used the services of a bankruptcy petition preparer)
For each individual debtor, copies of all payment advices, paycheck stubs, or other evidence ofall salary, commissions or
income received within 60 days before the bankruptcy case was tiied, copied on 8-11`2 by 11 paper with the debtor’s first
and last name printed on top of each page (and bankruptcy case number, if a number has been assigned); OR, as

7 applicable complete L.B. Form 1007-6.1 ("Statement Under Pcnaity ofPerjury Conccrniog Payment Advices") for each
debtor.
A record of any interest in an education individual retirement account ("IRA") (26 U.S.C. § 530(b){1)) or qualified state
tuition program (26 U.S.C. § 529(b)(i) plans).
Attorney Fee Disciosure Statement ~ Director’s Proccdural Form B 203
Veritication of Creditors’ Matrix - L.B. Form 1007-2.1
Creditors’ Matrix (see L.B.R. 1007-2 and L.B.R. it]O?-ZApp. for instructions).

 

§ l:]§l§l§|§l§]

|§lEF§~J [:l

 

 

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Addilionai items due from ALL individual debtors:

 

iii Statement of Social Security Number(s) ~ Ot`ticial Form 21

Chapter 7 individual debtors also must files

§§ Statement of Current Monthly Income and Means Test Calculation - Ofiicial Form 22A*

iii Statement of Intention - Ot’ficial Form 8 (due thirty days post-petition) (the failure to comply with this statement and file

reaffirmation agreements or motions to redeem personal property that the debtor does not intend to surrender has
ramifications 45 days alier the first scheduled meeting of creditors under lt U.S.C. § 362(11) of the Bankruptoy Code)

Chapter ll individual debtors also must file:

g Statement of Current Monthly Income ~ Ofticial Fomi 2213

Chapter 13 individual debtors also must fiie: _

E:i Statement of Current Montlily Income and Disposable Income Calculation ~
Ot`ficial Fonn 22C*

l:i Piah _L.B. Form 30 t 5.1

 

 

 

* The links for the updated lnternal Revenue Seivice and Census Bureau Information that may be needed to complete
Statement of Current Monthly lncome, Official Forms 22A and ZZB, can be reached from the web site'.
http:/i'www.usdoj.gov/ust/. (Not applicable in chapter 'i" cases if debts are primarily business debts.)

 

Additional items due from chapter 11 debtors:

 

[! List ofTwenty Largest Creditors a Official Form 4
- Corporate 0wnersbip Statement ~ Required by FED. R BANKR. P. 1007(a)(l) for

ij
corporations L.B. Form 1007-4.1.

l:l List of Equity Intercst Holders -Required by FED. R. BANKR. P. 1007(a)(3) for

l:l

corporations L.B. Fonn 1007~4.2.
Smail business debtors must file the most recent l) balance sheet, 2) statements of operations, 3) cash-flow statement and
4) federal income tax retui'n; OR a verified statement that those documents do not exist and have not been prepared or

filed.

Date: 1 Printed n f party signing: ' Signature ofAttorney (or debtor without
,L// c_/ 0 \_ / Pamel Sue lein _,JN/_ counsel):
§ ~ ~ /f//)/ /

/, v \.

 

 

 

 

 

 

 

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